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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

United States of America,

Plaintiff,
Case: 4:23-cr-20359
Vv. Judge: Kumar, Shalina D.
MJ: Ivy, Curtis
Filed: 06-21-2023
Allan W. Clark, SEALED MATTER (tt)
Defendant.
/
INDICTMENT
JUN 2.4 2023
U.S. DISTRICT COURT
THE GRAND JURY CHARGES: FLINT, MICHIGAN
Count One

Possession of Cocaine with Intent to Distribute
21 U.S.C. § 841(a)

1. On or about June 4, 2023, in the Eastern District of Michigan,
defendant, Allan Clark, knowingly and unlawfully possessed with intent to
distribute a controlled substance, in violation of Title 21, United States Code,
Section 841 (a).

It is further alleged that the controlled substance involved was a mixture and
substance containing a detectable amount of cocaine, in violation of Title 21,

United States Code, Section 841(b)(1)\(C).

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2. The defendant, Allan Clark, having a prior conviction for a serious
drug felony for which he served a term of imprisonment of more than twelve
months, and having been released from any term of imprisonment within fifteen
years of the commencement of the instant offense, is subject to increased penalties
provided under Title 21, United States Code, Sections 841 and 851.

Forfeiture Allegation

3. Pursuant to Fed. R. Cr. P. 32.2(a), the government hereby provides
notice to the defendant of its intention to seek forfeiture of all proceeds, direct or
indirect, or property traceable thereto, all property that facilitated the commission
of the violations alleged, or property traceable thereto, and all property involved in,
or property traceable thereto, of the violations set for in this Indictment.

4, Substitute Assets: Ifthe property described above as being subject to
forfeiture, as a result of any act or omission of Defendant:

a, Cannot be located upon the exercise of due diligence;

b. Has been transferred or sold to, or deposited with, a third party;
c. Has been placed beyond the jurisdiction of the Court;

d. Has been substantially diminished in value; or

e. Has been commingled with other property that cannot be divided
without difficulty;

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the United States of America shall be entitled to forfeiture of substitute property
pursuant to Title 21, United States Code, Section 853(p), and Title 28, United

States Code, Section 2461(c).

THIS IS A TRUE BILL
s/GRAND JURY FOREPERSON

GRAND JURY FOREPERSON

DAWN N. ISON
United States Attorney

s/ ANTHONY P. VANCE

ANTHONY P. VANCE
Chief, Branch Offices

s/ BLAINE LONGSWORTH
BLAINE LONGS WORTH
Assistant United States Attorney

Dated: June 21, 2023

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Case: 4:23-cr-20359

United States District Court Criminal Case Cover & Judge: Kumar, Shalina D.
Eastern District of Michigan MJ: Ivy, Curtis
Filed: 06-21-2023
NOTE: Itis the responsibility of the Assistant U.S, Attorney signing this form to complete it accurately ir SEALED MATTER (tt)
Companion Case Information Companion Case Number:
This may be a companion case based on LCrR 57.10(b}(4)":
LYes MINo AUSA’s Initials: BL

Case Title: USA v. Allan W. Clark
County where offense occurred: Genesee
Offense Type: Felony

Indictment -- no prior complaint

Superseding Case Information

Superseding to Case No: Judge:
Reason:
Defendant Name Charges Prior Complaint (if applicable)

Please take notice that the below listed Assistant United States Attorney is the attorney of record for
the above captioned case

s/BLAINE LONGSWORTH
June 21, 2023

Date Blaine Longsworth
Assistant United States Attorney
600 Church Street
Flint, Ml 48502
blaine.longsworth@usdoj.gov
(810) 766-5177
Bar #: P55984

1 Companion cases are matters in which it appears that {1} substantially similar evidence will be offered at trial, or (2) the same or related parties are
present, and the cases arise out of the same transaction or occurrence. Cases may be companion cases even though one of them may have already
been terminated.

